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LEAD
US. District Court

Northern District of Alabama (Southern)
CIVIL DOCKET FOR CASE #: 2:12-cv-01133-RDP

Richards et al v. Blue Cross and Blue Shield of Alabama et Date Filed: 04/17/2012

al Jury Demand: Plaintiff
Assigned to: Judge R David Proctor Nature of Suit: 410 Anti-Trust
Member case: (View Member Case) Jurisdiction: Federal Question

Cause: 15:1 Antitrust Litigation

Plaintiff

Fred R Richards represented by Adam W Pittman
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Plaintiff

Richards and Sons Construction
Company Inc

on behalf of themselves and all others
similarly situated

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ATTORNEY TO BE NOTICED
Meghan M Boone
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Defendant

Blue Cross and Blue Shield
Association

represented by

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Email: kwest@ wallacejordan.com
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Mark M Hogewood
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mhogewood @wallacejordan.com

ATTORNEY TO BE NOTICED
‘Date Filed | # | Docket Text —
04/17/2012 1 | CLASS ACTION COMPLAINT against Blue Cross and Blue Shield

Association, Blue Cross and Blue Shield of Alabama (Filing fee $350 Receipt#
B4601032815), filed by Fred R Richards, Richards and Sons Construction
Company Inc.(AVC) (Entered: 04/17/2012)

04) 17/2012 2 | DISCLOSURE Statement Pursuant to Local Rule 3.4 by Fred R Richards,
Richards and Sons Construction Company Inc. (AVC) (Entered: 04/17/2012)

AMENDED CLASS ACTION COMPLAINT against All Defendants, filed by

04/17/2012 3
Fred R Richards, Richards and Sons Construction Company Inc.(Thompson,
Charles) Modified on 4/18/2012 (AVC). (Entered: 04/17/2012)

04/18/2012 4 | Request for service by certified mail filed by Fred R Richards, Richards and
Sons Construction Company Inc. (Thompson, Charles) (Entered: 04/18/2012)

04/18/2012 5 | Summons Issued as to Blue Cross and Blue Shield Association, Blue Cross and

Blue Shield of Alabama; mailed certified mail. (AVC) (Entered: 04/18/2012)

04/20/2012 6 | SUMMONS Returned Executed Blue Cross and Blue Shield of Alabama served
on 4/19/2012, answer due 5/10/2012. (AVC) (Entered: 04/20/2012)

SUMMONS Returned Executed Blue Cross and Blue Shield Association served
on 4/24/2012, answer due 5/15/2012. (AVC) (Entered: 04/27/2012)

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NOTICE of Appearance by Carl S Burkhalter on behalf of Blue Cross and Blue
Shield of Alabama (Burkhalter, Carl) Modified on 5/9/2012 (AVC). (Entered:
05/08/2012)

05/08/2012 9 | Consent MOTION to Extend Time to File Responsive Pleading to Plaintiffs'
Complaint by Blue Cross and Blue Shield Association, Blue Cross and Blue
Shield of Alabama. (Burkhalter, Carl) Modified on 5/8/2012 (AVC). (Entered:
05/08/2012)

05/09/2012 10 | TEXT ORDER- The court has before it Defendants' Consent Motion to Extend
Time to File Responsive Pleading to Plaintiffs‘ Complaint (Doc. # 9), filed May
8, 2012, Defendants request until July 2, 2012 to submit a response to Plaintiffs'
Complaint, For good cause shown, the Motion (Doc. # 9) is GRANTED.

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Defendants SHALL file a response to Plaintiff's Complaint on or before July 2,
2012. Signed by Judge R David Proctor on 5/9/2012. (AVC) (Entered:
05/09/2012)

05/09/2012 id | NOTICE of Appearance by Kimberly R West on behalf of Blue Cross and Blue
Shield Association (West, Kimberly} (Entered: 05/09/2012)

05/10/2012 12 | INITIAL ORDER GOVERNING ALL FURTHER PROCEEDINGS- reminding
parties of their obligations under FRCP 26(f) and Local Rule LR26.1(d)- with
appendices attached. Signed by Judge R David Proctor on 5/10/2012. (AVC)
(Entered: 05/10/2012)

05/15/2012

MOTION for Leave to Appear Pro Hac Vice by Fred R Richards, Richards and
Sons Construction Company Inc. (Attachments: # 1 Exhibit A)(Small, Daniel)
(Entered: 05/15/2012)

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05/15/2012 t4 | MOTION for Leave to Appear Pro Hac Vice by Fred R Richards, Richards and
Sons Construction Company Inc. (Attachments: # | Exhibit A)(Alexander,
Laura) (Entered: 05/15/2012)

05/15/2012 +15 | MOTION for Leave to Appear Pro Hac Vice by Fred R Richards, Richards and
Sons Construction Company Inc. (Attachments: # 1 Exhibit A)(Boone, Meghan)
(Entered: 05/15/2012)

05/16/2012 16 | TEXT ORDER - The court has before it three Motions for Admission of
Counsel Pro Hac Vice (Docs. # 13-15), filed by Attorneys Daniel A. Small,
Laura Alexander, and Meghan M, Boone on behalf of Plaintiffs. The Motions
(Does. # 13-15) are CONDITIONALLY GRANTED. On or before May 23,
2012, each Attorney SHALL certify to the court that he or she has read and
understands: (1) any local rules applicabie in this District; (b) the Alabama State
Bar Pledge of Professionalism which can be accessed at http://www.alabar.org
/service/Pledge.cfm; and (c) this court's CM/ECF requirements. Failure to
submit the above item will result in vacatur of the conditional grant of the
attorney's motion. Signed by Judge R David Proctor on 05/16/12. (SFR, )
(Entered: 05/16/2012)

05/17/2012 PHV Fee paid: $50, Receipt# 1126-1664701 (ALND# B4601033702). (Small,
Daniel) Modified on 5/17/2012 (AVC). (Entered: 05/17/2012)

05/17/2012 PHY Fee paid: $50, Receipt# 1126- 1664712 (ALND# B4601033703).
(Alexander, Laura) Modified on 5/17/2012 (AVC). (Entered: 05/17/2012)

05/17/2012 PHV Fee paid: $50, Receipt# 1126-1664716 (ALND# B4601033705). (Boone,
Meghan) Modified on 5/17/2012 (AVC). (Entered: 05/17/2012)

05/18/2012 17 | CERTIFICATE of Counsel re 16 Order on Motion for Leave to Appear,,,,,,,, DY
Daniel A Small on behalf of Fred R Richards, Richards and Sons Construction
Company Inc (Small, Daniel) (Entered: 05/18/2012)

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05/18/2012

CERTIFICATE of Counsel re 16 Order on Motion for Leave to Appear,,,,,,,, by
Laura Alexander on behalf of Fred R Richards, Richards and Sons Construction
Company Inc (Alexander, Laura) (Entered: 05/18/2012)

05/18/2012

05/23/2012

05/23/2012

CERTIFICATE of Counsel re 16 Order on Motion for Leave to Appear rranes by
Meghan M Boone on behalf of Fred R Richards, Richards and Sons
Construction Company Inc (Boone, Meghan) (Entered: 05/ 18/2012)

MOTION for Leave to Appear Pro Hac Vice by Blue Cross and Blue Shield
Association. (Attachments: # | Exhibit Application and Declaration of Daniel E.

Laytin in Support of Pro Hac Motion)( West, Kimberly) (Entered: 05/23/2012)

MOTION for Leave to Appear Pro Hac Vice by Blue Cross and Blue Shield
Association. (Attachments: # | Exhibit Application and Declaration of Jan R.
Conner in Support of Pro Hac Motion)(West, Kimberly) (Entered: 05/23/2012)

05/24/2012

PHY Fee paid: $50, Receipt # 1126-1669898 (ALND# B4601033857). (West,
Kimberly) Modified on 5/24/2012 (AVC). (Entered: 05/24/2012)

05/24/2012

TEXT ORDER -The court has before it Motions for Admission Pro Hac Vice
(Docs. # 20, 21) filed by Defendant Blue Cross and Blue Shield Association on
behalf of Attorneys Daniel E. Laytin and Ian R, Conner. The Attorneys have
completed the requirements to appear pro hac vice in this court. Accordingly,
the Motions (Docs. # 20,21) are GRANTED. Signed by Judge R David Proctor
on 5/24/2012, (AVC) (Entered: 05/24/2012)

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PHV Fee paid: $50, Receipt# 1126- 1670036 (ALND# B4601033858). (West,
Kimberly) Modified on 5/24/2012 (AVC). (Entered: 05/24/2012)

MOTION to Consolidate Cases Unopposed CV-12-1133 and CV-12-1910 by
Blue Cross and Blue Shield of Alabama. (Burkhalter, Carl) (Entered:
06/08/2012)

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| 06/08/20 12

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ORDER- This case is before the court on Dft Blue Cross and Blue Shield of
Alabama's Unopposed Motion to Consolidate (23 in 2:12-cv-01133-RDP; 5 in
2:12-cv-O019[/0-RDP). The motion is GRANTED, In the future, ail other
documents should be electronically filed only in the lead case 2:12-CV-
01133-RDP, but should bear the style used on this order. Signed by Judge R
David Proctor on 6/8/2012. Assaciated Cases: 2:12-cv-01133-RDP, 2:12-cv-
O1910- RDP(AVC) (Entered: 06/08/2012) _

NOTICE of Appearance by John D Saxon on behalf of Fred R Richards, |
Richards and Sons Construction Company Inc Associated Cases: 2:12-cv-
01133-RDP, 2:12-cv-01910-RDP(Saxon, John) (Entered: 06/08/2012)

06/08/2012

NOTICE of Appearance by Adam W Pittman on behalf of Fred R Richards,
Richards and Sons Construction Company Inc Associated Cases: 2:12-cv-

01 133- RDP, 2: 12-¢ cv- v-01910- -RDP(Pittman, Adam) (Entered: 06/08/2012) —

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06/13/2012 27 | NOTICE of Appearance by James L Priester on behalf of Blue Cross and Blue
Shield of Alabama, Blue Cross and Blue Shield of Alabama Associated Cases:
2:12-cv-01133-RDP, 2:12-cv-01910-RDP(Priester, James) (Entered:
06/13/2012)

06/20/2012 28 | MOTION for Leave to Appear Pro Hac Vice by Nicholas A Layman, One Stop
Environmental, LLC. (Attachments: # 1 Exhibit)Associated Cases: 2:12-cv-
O1133- RDP, 2:12-cy- 01910- ‘RDP(Hellums, Christopher) (Entered: 06/20/2012)

06/20/2012 PHV Fee paid: $50, Receipt# 1126-1689820 (ALND# B4601034577).
Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP(Hellums,
Christopher) Modified on 6/20/2012 (AVC). (Entered: 06/20/2012)

06/20/2012 29 | MOTION for Leave to Appear Pro Hac Vice by Nicholas A Layman, One Stop
Environmental, LLC, (Attachments: # | Exhibit)Associated Cases: 2:12-cv-
01133-RDP, 2: 12- -CV- 01910- -RDP(Heliums, Christopher) (Entered: 06/20/2012) |

06/20/2012 PHV Fee paid: $ 50, Receipt? 1126-1689828 (ALND# B4601034578).
Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP(Hellums,
Christopher) Modified on 6/20/2012 (AVC). (Entered: 06/20/2012)

06/20/2012 0 | MOTION for Leave to Appear Pro Hac Vice by Nicholas A Layman, One Stop
Environmental, LLC. (Attachments: # | Exhibit)Associated Cases: 2:12-cy-
01133-RDP, 2:12-cv-01910-RDP(Hellums, Christopher) (Entered: 06/20/2012)

06/20/2012 PHV Fee paid: $50, Receipt# 1126-1689837 (ALND# B4601024579),
Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP(Hellums,
Christopher) Modified on 6/20/2012 (AVC). (Entered: 06/20/2012)

06/20/2012 | ; 1 | MOTION for Leave to Appear Pro Hac Vice by Nicholas A Layman, One ‘Stop
Environmental, LLC. (Attachments: # | Exhibit)Associated Cases: 2:12-cv-

01133-RDP, 2:12-cv-01910-RDP(Hellums, Christopher) (Entered: 06/20/2012)

06/20/2012 PHY Fee paid: $ 50, Receipt# 1126-1689840 (ALND# B4601024580).
Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP(Hellums,
Christopher) Modified on 6/20/2012 (AVC). (Entered: 06/20/2012)

06/21/2012 32 | TEXT ORDER - The court has before it motions to appear pro hac vice in this
case filed on behalf of Attorneys William A. Isaacson, Michael D. Hausfeld,
Edgar D. Gankendorff, and Eric R.G. Belin (Docs. # 28-31). Each attorney has
satisfied the requirements for appearing pro hac vice in this action. Accordingly,
the motions (Docs. # 28-31) are GRANTED and the attorneys are ADMITTED
to appear in this case pro hac vice. Signed by Judge R David Proctor on
06/21/12. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP(SFR, )
(Entered: 06/21/2012)

Consent MOTION Coordinate Pleading Deadline and Briefing Schedule by
Blue Cross and Blue Shield of Alabama, Blue Cross and Blue Shield of
Alabama. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-

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RDP(Burkhalter, Carl) (Entered: 06/21/2012)

06/2 1/2012 34 | TEXT ORDER -This case is before the court on the parties' Consent Motion to
Coordinate Pleading Deadline and Briefing Schedule (Doc. # 33), filed June 21,
2012. For good cause shown, the Motion (Doc. # 33) is GRANTED.
Accordingly, the following deadlines are in place: (1) any motions filed by
Defendants responding to the Complaints, as well as supporting briefs, are due
by July 16,2012; (2) any responsive briefs filed by Plaintiffs are due by August
13,2012; and any replies filed by Defendants are due by August 27, 2012.
Signed by Judge R David Proctor on 6/21/2012. Associated Cases: 2:12-cv-

06/25/2012 35 | ORDER-This case is before the court on pltf's Chris Bajalich and Consumer
Foundation Education of America, Inc.'s Unopposed Motion to Consolidate (6
in 2:12-cv-02185-RDP). The motion is GRANTED. The Clerk is hereby
DIRECTED to CONSOLIDATE case 2:12-cv-2185-RDP with case
2:12-cy-1133. In the future, all other documents should be electronically filed
only in the lead case, but should bear the style used in this order. Signed by
Judge R David Proctor on 6/25/2012. Associated Cases: 2:12-cv-01133-RDP,
2:12-cv-01910-RDP, 2: 12-cv-02185-RDP(AVC) (Entered: 06/25/2012)

06/26/2012 36 | MOTION to Consolidate Cases (Unopposed) by Blue Cross and Blue Shield
Association. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP,
2: 12-cv-02185-RDP( West, Kimberly) (Entered: 06/26/2012)

06/26/2012 37 | MOTION for Status Conference by Nicholas A Layman, One Stop
Environmental, LLC. Associated Cases: 2:12-cy-01133-RDP, 2:12-cv-
01910-RDP, 2:12-cv-02185-RDP(Hellums, Christopher) Modified on 6/26/2012
(AVC). (Entered: 06/26/2012)

06/27/2012 38 | ORDER-This case is before the court on Dft Blue Cross and Blue Shield
Association's (BCBSA) Unopposed Motion to Consolidate (8 in 2:12-cv-
02185-RDP, 36 in 2:12-cv-01133-RDP, 20 in 2:12-cv-01910-RDP). The motion
is GRANTED. The Clerk is DIRECTED to CONSOLIDATE American Electric
Motor Services, Inc. v BCBSA, et al with Richards et al v. BCBSA. Signed by
Judge R David Proctor on 6/26/2012. Associated Cases: 2:12-cv-01133-RDP,
2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2:12-cv-02185-RDP(AVC) (Entered:
06/27/2012)

06/27/2012 39 | NOTICE of Appearance by Kimberly R West on behalf of Blue Cross and Blue

Shield Association Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP,

2:12-cv-02169-RDP, 2:12-cv-02185-RDP( West, Kimberly) (Entered:
06/27/2012)

06/27/2012 40 | NOTICE of Appearance by Mark M Hogewood on behalf of Blue Cross and
Blue Shield Association Associated Cases: 2:12-cv-01133-RDP, 2: 12-cv-
01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP(Hogewood, Mark)
(Entered: 06/27/2612)

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06/28/2012 4\| | ORDER-This matter is before the court on Pltfs' Motion for Status Conference,
(37 in 2:12-ev-01133-RDP, 21 in 2:12-cv-01910-RDP, 9 in 2: 12-cv-
02185-RDP). The motion is GRANTED. This case is SET for a status
conference at [lam on 7/25/2012, in Courtroom 7A of the Hugo L. Black US
Courthouse. Associated Cases: 2: 12-cv-01133-RDP, 2:12-cv-01910-RDP,

2: 12-cv-02169-RDP, 2: 12-cv-02185-RDP(AVC) (Entered: 06/28/2012)

07/10/2012 42. | ALL PARTIES' Proposed Agenda for July 25,2012 Status Conference by Blue
Cross and Blue Shield Association, Blue Cross and Blue Shield of Alabama,
Nicholas A Layman, One Stop Environmental, LLC, Chris Bajalieh, Consumer
Financial Education Foundation of America Inc, American Electric Motor
Services Inc, Fred R Richards, Richards and Sons Construction Company Inc.
Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cy-
02169-RDP, 2: 12-cv-02185-RDP(Small, Daniel) Modified on 7/11/2012 (AVC).

07/10/2012 43 | Consent MOTION to Vacate (34 in 2:12-cv-01133-RDP, 34 in 2:12-cv-
01133-RDP) Order,,, Terminate Motions,, by Blue Cross and Blue Shield
Association. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP,
2:12-cy-02169-RDP, 2:12-cv-02185-RDP( West, Kimberly) (Entered:
07/10/2012)

07/11/2012 44 | TEXT ORDER - The court has before it Defendants’ Agreed Motion to Vacate
(Doc. # 43), filed July 10,2012. The parties request that the court vacate the
June 21, 2012 scheduling order. The Motion (Doc. # 43) is GRANTED. The
court will set a briefing schedule at the July 25,2012 conference. Signed by
Judge R David Proctor on 07/11/12. Associated Cases: 2:12-cv-01133-RDP,
2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP(SFR, ) (Entered:
07/11/2012)

07/24/2012 45 | MOTION for Admission Pro Hac Vice of Arthur N. Bailey, Jr. by Richards and
Sons Construction Company Inc. (Attachments: # | Exhibit)Associated Cases:
2:]2-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-02185-
RDP(Hellums, Christopher) Modified on 7/24/2012 (AVC). (Entered:
07/24/2012)

07/24/2012 46 ; TEXT ORDER -This matter is before the court on the Motion for Admission
Pro Hac Vice of Arthur N, Bailey, Jr. (Doc. # 45). The Motion (Doc, # 45) is
GRANTED. Signed by Judge R David Proctor on 7/24/2012. Associated Cases:
2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-
RDP(AVC) (Entered: 07/24/2012)

07/24/2012 PHV Fee paid: $50, Receipt# 1126-1716393 (ALND# B4601035590).
Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-
02169-RDP, 2:12-cv-02185-RDP(Hellums, Christopher) Modified on 7/24/2012
(AVC). (Entered: 07/24/2012)

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07/25/2012 Minute Entry for proceedings held before Judge R David Proctor: Status
Conference held on 7/25/2012. The court will enter a separate order outlining
the deadlines as indicated on the record. (Court Reporter Anita McCorvey.)
Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2: 12-cv-02525-RDP(KLL) (Entered:
07/27/2012)

07/26/2012 47 | TEXT ORDER -On July 25, 2012, the court conducted a status conference in
these consolidated cases. At the status conference, the court was informed that
an additional case, Case No. 2:12-cv-02532-LSC, Conway v. Blue Cross and
Blue Shield of Alabama, et al, had been filed and may be appropriate for
consolidation with this case, despite the fact that additional defendants are
named in that case. At the status conference, counsel for Blue Cross and Blue
Shield Association agreed to undertake to notify the defendants in that case that,
if they intend to oppose consolidation of that case with these cases, they should
file a notice with the court on or before August 3, 2012. Counsel for Blue Cross
and Blue Shield Asseciation is DIRECTED to make those other Blue Cross and
Blue Shield entities who are named in that case and with whom the have contact
aware of this Order. Signed by Judge R David Proctor on 7/26/2012. Associated
Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-
02185-RDP(AVC) (Entered: 07/26/2012)

07/27/2012 48 | ORDER-By agreement of the parties, it is ORDERED that case 2:12-cv-
2525-KOB, be consolidated with case 2: 12-cv-1133-RDP. In the future, all other
documents should be electronically filed only in the lead case 2:12-CV-
1133-RDP. Signed by Judge R David Proctor on 7/27/2012. Associated Cases:
2: 12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-
02185-RDP, 2:12-cv-02525-RDP(AVC) (Entered: 07/27/2012)

07/27/2012 49 | ORDER-By agreement of the parties, it is ORDERED that case 2:12-cv-
2537-TMP will be consolidated with 2:12-cy-1133-RDP. In the future, all other
documents should be electronically filed only in the lead case 2:12-CV-
01133-RDP. Signed by Judge R David Proctor on 7/27/2012. Associated Cases:
2: 12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2: 12-cv-
02185-RDP, 2: 12-cv-02525-RDP, 2: 12-cv-02537-RDP(AVC) (Entered:
07/27/2012)

07/27/2012 50 | ORDER -It is the courts intent to appoint Interim Lead Class Counsel pursuant
to Federal Rule of Civil Procedure 23(g)(3) in these consolidated cases.
Applications and/or nominations for the Interim Lead Class Counsel position
must be filed with the Clerks Office electronically on or before Tuesday,
September 4, 2012, Signed by Judge R David Proctor on 7/27/2012. Associated
Cases: 2:12-cv-01133-RDP, 2: 12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2:12-cv-
02185-RDP, 2: 12-cv-02525-RDP, 2: 12-cv-02537-RDP(AVC) (Entered:
07/27/2012)

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07/3 1/2012 Transcript of Proceedings held on 7/25/2012, before Judge R. David Proctor.
Court Reporter/Transcriber Anita McCorvey, Telephone number 205-278-2063.
Transcript may be viewed at the court public terminal or purchased through the
Court Reporter/Transcriber before the deadline for Release of Transcript
Restriction. After that date it may be obtained through PACER. NOVICL: The
parties have seven (7) calendar days to file with the Court a Notice of Intent to
Request Redaction of this transcript, [no such Notice ts filed, the transcript will
be made remotely electronically available to the public without redaction after
90 calendar days. (A copy can be obtained at http://www.alnd uscourts.gov/local
/court forms/transcripts/Transcript Redaction Policy.pdf) See Transcript
Redaction Policy Redaction Request due 8/21/2012. Redacted Transcript
Deadline set for 8/31/2012. Release of Transcript Restriction set for 10/29/2012.
Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-02537-
RDP(AVC) (AVC, ). (Entered: 07/3 1/2012)

Amended Transcript of Proceedings held on 7/25/2012, before Judge R. David
Proctor. Court Reporter/Transcriber Anita McCorvey, Telephone number
205-278-2063. Transcript may be viewed at the court public terminal or
purchased through the Court Reporter/Transcriber before the deadline for
Release of Transcript Restriction. After that date it may be obtained through
PACER, NOVICE: Phe parties have seven (7) calendar days to file with the
Courta Nolice of Entent to Request Redaction of this transcript. Hino such
Notice is filed, the transcript will be made remotely electronically available to
the public without redaction alter 90 calendar days. (A copy can be obtained at
http://www.alnd.uscourts.gov/local/court forms/transcripts/Transcript Redaction
Policy.pdf} See Transcript Redaction Policy Redaction Request due 8/23/2012.
Redacted Transcript Deadline set for 9/4/2012. Release of Transcript Restriction
set for 10/31/2012. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP,
2: 12-cv-02169-RDP, 2: 12-cv-02185-RDP, 2: 12-cv-02525-RDP, 2: 12-cv-02537-

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08/07/2012 53 | ORDER-This matter is before the court on the Provider Pltfs' Motion to
Consolidate and Establish Seperate Track (#2 in 2:12-cv-02532-LSC). By
agreement of the parties and over no objection from others, it is ORDERED that
the motion is GRANTED, and that case 2:12-cv-2532-LSC, be consolidated
with case 2:12-cv-1133-RDP. In the future, all other documents should be
electronically filed only in the lead case, Richards, et al. v. Blue Cross and Blue
Shield of Alabama, et al., 2:12-CV-01133-RDP. Signed by Judge R David
Proctor on 8/6/2012. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-
01910-RDP, 2: 12-cv-02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP,
2:12-cy-02532-RDP, 2: 12-cv-02537-RDP(AVC) (Entered: 08/07/2012)

08/10/2012 54 | NOTICE of Appearance by James L Priester on behalf of Blue Cross and Blue
Shield of Alabama. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP,
2:12-cv-02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-

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02532-RDP, 2:12-cv-02537-RDP(Priester, James) Modified on 8/10/2012
(AVC). (Entered: 08/10/2012)

08/16/2012 55 | NOTICE of Appearance by Carl S Burkhalter on behalf of Blue Cross and Blue
Shield of Alabama. Assoctated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP,
2:12-cv-02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-
02532-RDP, 2:12-cv-02537-RDP(Burkhalter, Carl) Modified on 8/16/2012
(AVC). (Entered: 08/16/2012)

08/17/2012 56 | STIPULATION (Agreed) of the Conway Parties by Blue Cross and Blue Shield
Association. filed by Blue Cross and Blue Shield Association Associated Cases:
2: 12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2:12-cv-
02185-RDP, 2: 12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2: 12-cv-02537-

RDP( West, Kimberly) (Entered: 08/17/2012)

08/17/2012 57 | TEXT ORDER - This matter is before the court on the Agreed Stipulation of the
Conway Parties (Doc. # 56), filed August 17,2012. Although the court approves
of the parties' agreement regarding the timing of responsive pleadings, counsel
for Defendants who have not yet appeared are DIRECTED to file notices of
appearance at their earliest convenience in order to receive notices via the
court's CM/ECF system. Signed by Judge R David Proctor on 08/17/12.
Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-02532-RDP(SFR, ) (Entered:
08/17/2012)

08/17/2012

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NOTICE of Appearance by Pamela B Slate on behalf of Blue Cross and Blue
Shield of Alabama, Blue Cross and Blue Shteld of Alabama Associated Cases:
2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-
02185-RDP, 2: 12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2: 12-cv-02537-
RDP(Slate, Pamela) (Entered: 08/17/2012)

08/20/2012 59 | MOTION for Leave to Appear pro hac vice of Charles R. Watkins by Chris
Bajalieh, Consumer Financial Education Foundation of America Inc. Associated
Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2: 12-ev-
02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02532-RDP, 2: i2-cv-02537-
RDP(Guin, David) (Entered: 08/20/2012)

08/20/2012 60 | MOTION for Leave to Appear pro hac vice of John R. Wlie by Chris Bajalieh,
Consumer Financial Education Foundation of America Inc. Associated Cases:
2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-
02185-RDP, 2: 12-cv-02525-RDP, 2:12-cv-02532-RDP, 2:12-cv-02537-
RDP(Guin, David) (Entered: 08/20/2012)

08/21/2012 6| | ORDER-Before the court is the Motion for Admission Pro Hac Vice of Charles
R. Watkins (59 in 2:12-cv-01133-RDP). The motion is CONDITIONALLY
GRANTED. By 8/27/2012, Attorney Watkins SHALL: pay the $50 filing fee,
and Certify to the court that he has read and understands: any jocal rules
applicable in this District; the Alabama State Bar Pledge of Professionalism; this
court's CM/ECF requirements. Signed by Judge R David Proctor on 8/21/2012.

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Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-02532-RDP,
2: 12-cv-02537-RDP(AVC) (Entered: 08/21/2012)

08/21/2012 62 | MOTION for Leave to Appear pro hac vice of John R. Wilie by Chris Bajalieh,
Consumer Financial Education Foundation of America Inc. Associated Cases:
2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2:12-cv-
02185-RDP, 2: 12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2:12-cv-02537-
RDP(Guin, David) (Entered: 08/21/2012)

08/21/2012 63 | CERTIFICATE of Counsel of Charles R. Watkins in support of Motion to
Appear Pro Hac Vice by David J Guin on behalf of Chris Bajalich, Consumer
Financial Education Foundation of America Inc Associated Cases: 2:12-cv-
01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP,
2:12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2: 12-cv-02537-RDP(Guin, David)

(Entered: 08/21/2012)

08/21/2012 PHV Fee paid: $100.00, Receipt# B4601036372 for Attorneys Charles R.
Watkins and John R. Wylie. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-
01910-RDP, 2: 12-cv-02169-RDP, 2:12-cv-02185-RDP, 2: 12-cv-02525-RDP,
2:12-cv-02532-RDP, 2: 12-cv-02537-RDP(AVC) (Entered: 08/21/2012)

08/21/2012 64 | ORDER-Before the court is Motion for Admission Pro Hac Vice of John R.
Wylie (62 in 2:12-cv-01133-RDP). The Motion is CONDITIONALLY
GRANTED. By 8/27/2012, Attorney Wylie SHALL: pay the $50 filing fee, and
Certify to the court that he has read and understands: any local rules applicable
in this District; the Alabama State Bar Pledge of Professionalism; and this
court's CM/ECF requirements. Signed by Judge R David Proctor on 8/21/2012.
Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-02532-RDP,
2:12-cv-02537-RDP(AVC) (Entered: 08/21/2012)

08/27/2012 65 | NOTICE of Appearance by J Bentley Owens, III on behalf of Premera Blue
Cross of Alaska Associated Cases: 2:12-cv-01133-RDP, 2: 12-cv-01910-RDP,
2:12-cv-02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-
02532-RDP, 2:12-cv-02537-RDP(Owens, J) (Entered: 08/27/2012)

08/27/2012 66 | MOTION for Leave to Appear Pro Hac Vice for Gwendolyn C. Payton by
Premera Blue Cross of Alaska. (Attachments: # | Exhibit A)Associated Cases:
2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-
02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02532-RDP, 2:12-cv-02537-
RDP(Owens, J) (Entered: 08/27/2012)

08/27/2012 67 | MOTION for Leave to Appear Pro Hac Vice for Erin M. Wilson by Premera
Blue Cross of Alaska. (Attachments: # | Exhibit A)Associated Cases: 2:12-cy-
01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2: 12-cv-02185-RDP,

2: 12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2: 12-cv-02537-RDP(Owens, J)
(Entered: 08/27/2012)

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08/27/2012 PHV Fee paid: $50, Receipt# 1126-1743094 (ALND# B4601036526).

Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-

02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-02532-RDP,

2:12-cv-02537-RDP(Owens, J) Modified on 8/30/2012 (AVC). (Entered:
08/27/2012)

08/27/2012 PHV Fee paid: $50, Receipt# 1126-1743 100 (ALND# B4601036527).
Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02532-RDP,
2:12-cv-02537-RDP(Owens, J) Modified on 8/30/2012 (AVC). (Entered:
08/27/2012)

08/27/2012 68 | NOTICE of Appearance by John M Johnson on behalf of Blue Cross and Blue
Shteld of Kansas, Blue Cross and Blue Shield of Kansas City, Blue Cross and
Blue Shield of Nebraska Assoctated Cases: 2:12-cv-01133-RDP, 2:12-cv-
01910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-02185-RDP, 2: 12-cv-02525-RDP,

2: 12-cv-02532-RDP, 2:12-cv-02537-RDP(Johnson, John) (Entered: 08/27/2012)

08/27/2012 69 | NOTICE of Appearance by Brian P Kappel on behalf of Blue Cross and Blue
Shield of Kansas, Blue Cross and Blue Shield of Kansas City, Blue Cross and
Blue Shield of Nebraska Associated Cases: 2:12-cv-01133-RDP, 2: 12-cv-
01910-RDP, 2: 12-cv-02169-RDP, 2: [2-cv-02185-RDP, 2: 12-cv-02525-RDP,
2:12-cv-02532-RDP, 2: 12-cv-02537-RDP(Kappel, Brian) (Entered: 08/27/2012)

08/27/2012 70 | MOTION for Limited Admission (Pro Hac Vice of Kathleen Taylor Sooy) by
Blue Cross and Blue Shield of Kansas, Blue Cross and Blue Shield of Kansas
City, Blue Cross and Blue Shield of Nebraska. (Attachments: # | Exhibit
l)Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2: 12-cvy-02532-RDP,

08/27/2012 PHY Fee paid: $50, Receipt# 1126-1743195 (ALND# B4601036529).
Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-
02169-RDP, 2: 12-cv-02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02532-RDP,
2:12-cv-02537-RDP(Johnson, John) Modified on 8/30/2012 (AVC). (Entered:
08/27/2012)

08/27/2012 71 | MOTION for Limited Admission (Pro Hac Vice of Tracy A. Roman) by Blue
Cross and Blue Shield of Kansas, Blue Cross and Blue Shield of Kansas City,
Blue Cross and Blue Shield of Nebraska. (Attachments: # 1 Exhibit
1)Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-02532-RDP,
2: 12-cv-02537-RDPGohnson, John) (Entered: 08/27/2012)

08/27/2012 PHV Fee paid: $50, Receipt# 1126-1743214 (ALND# B4601036530).
Associated Cases: 2:12-cv-01133-RDP, 2:12-cy-01910-RDP, 2: 12-ev-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-02532-RDP,
2: 12-cv-02537-RDP(Johnson, John) Modified on 8/30/2012 (AVC). (Entered:

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08/29/2012 72. | ORDER: 70 and 71 , Motions for Leave to Appear PHY for Kathleen Taylor
Sooy and Tracy Roman are GRANTED; 66 and 67 , Motions for Leave to
Appear Pro Hac Vice for Gwendolyn Payton and Erin Wilson are
CONDITIONALLY GRANTED, as further set out in order. Signed by Judge R
David Proctor on 08/29/12. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-
01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP, 2: 12-cv-02525-RDP,

2: 12-cv-02532-RDP, 2:12-cv-02537-RDP(CVA) Modified on 8/29/2012 (CVA).

08/30/2012 73 | NOTICE of Appearance by Cavender C Kimble on behalf of Anthem Blue
Cross and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of
Indiana, Anthem Blue Cross and Blue Shield of New Hampshire, Anthem Blue
Cross and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of
Missouri, Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue
Shield of Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue
Shield of Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross
and Blue Shield of Minnesota, Blue Cross and Blue Shield of North Carolina,
Blue Cross and Blue Shield of South Carolina, Hawaii Medical Service Assoc,
Horizon Blue Cross and Blue Shield of New Jersey, Wellmark of South Dakota
Inc Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-O1910-RDP, 2: 12-cv-
02169-RDP, 2: 12-cv-02185-RDP, 2: 12-cv-02525-RDP, 2: 12-cv-02532-RDP,
2:12-cv-02537-RDP(Kimble, Cavender) (Entered: 08/30/2012)

08/30/2012 74 | MOTION for Leave to Appear Pro Hac Vice Craig A. Hoover by Anthem Blue
Cross and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of
Indiana, Anthem Blue Cross and Blue Shield of New Hampshire, Anthem Blue
Cross and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of
Missouri, Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue
Shield of Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue
Shield of Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross
and Blue Shield of Minnesota, Blue Cross and Blue Shield of North Carolina,
Blue Cross and Blue Shield of South Carolina, Hawaii Medical Service Assoc,
Horizon Blue Cross and Blue Shield of New Jersey, Wellmark of South Dakota
Inc. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-02532-RDP,
2:12-cv-02537-RDP(Kimble, Cavender) (Entered: 08/30/2012)

08/30/2012 75 | MOTION for Leave to Appear Pro Hac Vice J. Robert Robertson by Anthem
Blue Cross and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shieid
of New Hampshire, Anthem Blue Cross and Blue Shield of Virginia Inc,
Anthem Blue Cross and Shield of Missouri, Anthem Heaith Plans of Maine,
Anthem Inc, Blue Cross and Blue Shieid of Florida, Blue Cross and Blue Shield
of Georgia, Blue Cross and Blue Shield of Louisiana, Blue Cross and Blue
Shield of Massachusetts, Blue Cross and Blue Shield of Minnesota, Blue Cross
and Blue Shield of North Carolina, Blue Cross and Blue Shield of South

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Carolina, Hawaii Medical Service Assoc, Horizon Blue Cross and Blue Shield
of New Jersey, Wellmark of South Dakota Inc. Associated Cases: 2:12-cv-
01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2:12-cv-02185-RDP,
2:12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2:12-cv-02537-RDP(Kimble,
Cavender) (Entered: 08/30/2012)

08/30/2012 76 | MOTION for Leave to Appear Pro Hac Vice Emily M. Yinger by Anthem Blue
Cross and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of
Indiana, Anthem Blue Cross and Blue Shield of New Hampshire, Anthem Blue
Cross and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of
Missouri, Anthem Health Plans of Maine, Anthem inc, Blue Cross and Blue
Shield of Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue
Shield of Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross
and Blue Shield of Minnesota, Blue Cross and Blue Shield of North Carolina,
Blue Cross and Blue Shield of South Carolina, Hawaii Medical Service Assoc,
Horizon Blue Cross and Blue Shield of New Jersey, Wellmark of South Dakota
Inc. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02532-RDP,
2:12-cv-02537-RDP(Kimble, Cavender) (Entered: 08/30/2012)

08/30/2012 77 | MOTION for Leave to Appear Pro Hac Vice £. Desmond Hogan by Anthem
Blue Cross and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield
of Indiana, Anthem Blue Cross and Blue Shield of New Hampshire, Anthem
Blue Cross and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of
Missouri, Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue
Shield of Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue
Shield of Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross
and Blue Shield of Minnesota, Blue Cross and Blue Shield of North Carolina,
Blue Cross and Blue Shield of South Carolina, Hawaii Medical Service Assoc,
Horizon Blue Cross and Blue Shield of New Jersey, Wellmark of South Dakota
Inc. Associated Cases: 2:]12-cv-01133-RDP, 2: 12-cv-01910-RDP, 2: 12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-02532-RDP,
2:12-cv-02537-RDP(Kimble, Cavender) (Entered: 08/30/2012)

08/30/2012 78 | NOTICE of Appearance by D Keith Andress on behalf of Blue Cross and Blue
Shield of Tennessee Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-
01910-RDP, 2: 12-cv-02169-RDP, 2: 12-cv-02185-RDP, 2: 12-cv-02525-RDP,
2: 12-cv-02532-RDP, 2: 12-cv-02537-RDP(Andress, D) (Entered: 08/30/2012)

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08/30/2012 79 | MOTION for Leave to Appear Pro Hac Vice N. Thomas Connally by Anthem
Blue Cross and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield
of Indiana, Anthem Blue Cross and Blue Shield of New Hampshire, Anthem
Blue Cross and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of
Missouri, Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue
Shield of Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue
Shield of Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross
and Blue Shield of Minnesota, Blue Cross and Blue Shield of North Carolina,

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Blue Cross and Blue Shield of South Carolina, Hawaii Medical Service Assoc,
Horizon Blue Cross and Blue Shield of New Jersey, Wellmark of South Dakota
Inc. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2: {2-cv-02525-RDP, 2:12-cv-02532-RDP,
2:12-cv-02537-RDP(Kimble, Cavender) (Entered: 08/30/2012)

08/30/2012 80 | NOTICE of Appearance by Kevin R Garrison on behalf of Blue Cross and Blue
Shield of Tennessee Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-
01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP,
2:12-cv-02532-RDP, 2:12-cv-02537-RDP(Garrison, Kevin) (Entered:
08/30/2012)

08/30/2012 8L | NOTICE of Appearance by Emily M Yinger on behalf of Anthem Blue Cross
and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of Indiana,
Anthem Blue Cross and Blue Shield of New Hampshire, Anthem Blue Cross
and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of Missouri,
Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue Shield of
Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue Shield of
Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross and Blue
Shield of Minnesota, Blue Cross and Blue Shield of North Carolina, Blue Cross
and Blue Shield of South Carolina, Blue Cross and Blue Shield of Tennessee,
Hawaii Medical Service Assoc, Horizon Blue Cross and Blue Shield of New
Jersey, Wellmark of South Dakota Inc Associated Cases: 2:12-cv-01133-RDP,
2: 12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-
02525-RDP, 2: 12-cv-02532-RDP, 2: 12-cv-02537-RDP(Yinger, Emily) (Entered:
08/30/2012)

08/30/2012 82 | NOTICE of Appearance by N Thomas Connally, III on behalf of Anthem Blue
Cross and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of
Indiana, Anthem Blue Cross and Blue Shield of New Hampshire, Anthem Blue
Cross and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of
Missouri, Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue
Shield of Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue
Shield of Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross
and Blue Shield of Minnesota, Blue Cross and Biue Shield of North Carolina,
Blue Cross and Blue Shield of South Carolina, Blue Cross and Blue Shield of
Tennessee, Hawali Medical Service Assoc, Horizon Blue Cross and Blue Shield
of New Jersey, Wellmark of South Dakota Inc Associated Cases: 2:12-cv-
01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP,
2:12-cv-02525-RDP, 2:12-cv-02532-RDP, 2:12-cv-02537-RDP(Connally, N)
(Entered: 08/30/2012)

08/30/2012 83 | NOTICE of Appearance by E Desmond Hogan on behalf of Anthem Blue Cross
and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of Indiana,
Anthem Blue Cross and Blue Shield of New Hampshire, Anthem Blue Cross
and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of Missouri,
Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue Shield of

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Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue Shield of
Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross and Blue
Shield of Minnesota, Blue Cross and Blue Shield of North Carolina, Blue Cross
and Blue Shield of South Carolina, Blue Cross and Blue Shield of Tennessee,
Hawaii Medical Service Assoc, Horizon Blue Cross and Blue Shield of New
Jersey, Wellmark of South Dakota Inc Associated Cases: 2:12-cv-01133-RDP,
2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-02185-RDP, 2:12-cv-
02525-RDP, 2: 12-cv-02532-RDP, 2: 12-cv-02537-RDP(Hogan, E) (Entered:
08/30/2012)

08/30/2012 84 | NOTICE of Appearance by Craig A Hoover on behalf of Anthem Blue Cross
and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of Indiana,
Anthem Blue Cross and Blue Shield of New Hampshire, Anthem Blue Cross
and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of Missouri,
Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue Shield of
Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue Shield of
Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross and Blue
Shield of Minnesota, Blue Cross and Blue Shield of North Carolina, Blue Cross
and Blue Shield of South Carolina, Blue Cross and Blue Shield of Tennessee,
Hawali Medical Service Assoc, Horizon Blue Cross and Blue Shield of New
Jersey, Wellmark of South Dakota Inc Associated Cases: 2:12-cv-01133-RDP,
2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP, 2:12-cy-
02525-RDP, 2: 12-cv-02532-RDP, 2: 12-cv-02537-RDP(Hoover, Craig) (Entered:
08/30/2012)

08/3 1/2012 85 | NOTICE of Appearance by J Robert Robertson on behalf of Anthem Blue Cross
and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of Indiana,
Anthem Blue Cross and Blue Shieid of New Hampshire, Anthem Blue Cross
and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of Missouri,
Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue Shield of
Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue Shield of
Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross and Blue
Shield of Minnesota, Blue Cross and Blue Shield of North Carolina, Blue Cross
and Blue Shield of South Carolina, Blue Cross and Blue Shield of Tennessee,
Hawaii Medical Service Assoc, Horizon Blue Cross and Blue Shield of New
Jersey, Wellmark of South Dakota Inc Associated Cases: 2:12-cv-01133-RDP,
2:12-cv-01910-RDP, 2: 12-cv-02 169-RDP, 2: 12-cv-02185-RDP, 2: 12-cv-
02525-RDP, 2: 12-cv-02532-R DP, 2: 12-cv-02537-RDP(Robertson, J} (Entered:
08/31/2012)

08/3 1/2012 86 | ORDER-Before the court are Motions for Admission Pro Hac Vice on behaif of
Craig A. Hoover 74 ,J. Robert Robertson 75 , Emily M. Yinger 76 , E.
Desmond Hogan 77 , and N. Thomas Connally 79 . The motions are
CONDITIONALLY GRANTED. By 9/7/2012, the Attorneys seeking admission
SHALL pay the $50 pro hac vice fee; and Certify to the court that they have
read and understand: any local rules applicable in this District; the Alabama

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State Bar Pledge of Professionalism; this court's CM/ECF requirements, Signed
by Judge R David Proctor on 8/30/2012. Associated Cases; 2:12-cv-01133-RDP,
2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2: |2-cv-02185-RDP, 2: 12-cv-
02525-RDP, 2:12-cv-02532-RDP, 2:12-cv-02537-RDP(AVC) (Entered:

08/3 1/2012 PHV Fee paid: $250.00, Receipt# B4601036604, for Attorneys Craig A.
Hoover, J. Robert Robertson, Emily M. Yinger, E. Desmond Hogan and N.
Thomas Connally. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP,
2:12-cv-02169-RDP, 2:12-cvy-02185-RDP, 2: 12-cv-02525-RDP, 2:12-cv-
02532-RDP, 2:12-cv-02537-RDP(AVC) (Entered: 08/3 1/2012)

09/04/2012 87 | NOTICE of Compliance re: Attorneys Gwendolyn C. Payton and Erin M.
Wilson by Premera Blue Cross of Alaska re (31 in 2:12-cv-02532-
RDP)(Attachments: # | Exhibit Application and Declaration of Gwendolyn C,
Payton in Support of Motion for Admission Pro Hac Vice, # 2 Exhibit
Application and Declaration of Erin M. Wilson in Support of Motion for
Admission Pro Hac Vice)Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-
01910-RDP, 2: 12-cv-02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP,
2:12-cv-02532-RDP, 2:12-cv-02537-RDP(Owens, J) Modified on 9/4/2012
(AVC). (Entered: 09/04/2012)

09/04/2012 88 | MOTION to be Appointed Lead Counsel in the Provider Track by Jerry L
Conway. (Attachments: # | Exhibit 1, #2 Exhibit 2)Associated Cases: 2:12-cv-
01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP,

2: 12-cv-02525-RDP, 2:12-cv-02532-RDP, 2: 12-cv-02537-RDP( Whatley, Joe}
Modified on 9/4/2012 (AVC). (Entered: 09/04/2012)

09/04/2012 89 | Brief re(50 in 2:12-cv-01133-RDP) Order,, Application to Appoint Cohen
Milstein as Interim Class Counsel and John D. Saxon as Interim Liaison
Counsel. (Attachments: # 1 Exhibit A, #2 Exhibit B, # 3 Exhibit C, # 4 Exhibit
D, #5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H)Associated Cases:
2: 12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-
02185-RDP, 2:12-cv-02525-RDP, 2: 12-cy-02532-RDP, 2: 12-cv-02537-
RDP(Small, Daniel) (Entered: 09/04/2012)

09/04/2012 909 | JOINT Application of Boies, Schiller & Flexner LLP, Donaldson & Guin, LLC,
and Pittman, Dutton & Hellums, PC to Serve as Interim co-Lead Counsel by
Nicholas A Layman, One Stop Environmental, LLC. (Attachments: # J Exhibit
A, #2 Exhibit B, #3 Exhibit C, #4 Exhibit D, #5 Exhibit E)Associated Cases:
2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-
02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02532-RDP, 2:12-cv-02537-
RDP(Hellums, Christopher) Modified on 9/5/2012 (AVC). (Entered:

09/04/2012 91 | MOTION to Appoint Counsel Greg Davis Interim Lead Class Counsel in the
Subscriber Track by GC Advertising LLC. Associated Cases: 2:12-cv-

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01133-RDP, 2: 12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP,
2:12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2: 12-cv-02537-RDP(Davis, Gregory)
Modified on 9/5/2012 (AVC), (Entered: 09/04/2012)

09/05/2012 92 | CERTIFICATION of Emily M. Yinger Associated Cases: 2:12-cv-01133-RDP,
2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-
02525-RDP, 2:12-cv-02532-RDP, 2: 12-cv-02537-RDP(Yinger, Emily) Modified
on 16/2012 (AVC). (Entered: 09/05/2012)

09/05/2012 93 CERTIFICATION of N. Thomas Connally Associated Cases: 2: 12-4 cv-
01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-02185-RDP,
2:12-cv-02525-RDP, 2:12-cv-02532-RDP, 2: 12-cv-02537-RDP(Connally, N)
Modified on 9/6/2012 (AVC). (Entered: 09/05/2012)

09/05/2012 94 | CERTIFICATION of E. Desmond Hogan Associated Cases: 2:12-cv-
01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2:12-cv-02185-RDP,
2:12-cv-02525-RDP, 2:12-cv-02532-RDP, 2: 12-cv-02537-RDP( Hogan, E)
Modified on 9/6/2012 (AVC). (Entered: 09/05/2012)

09/05/2012 95 | CERTIFICATION of Craig A. Hoover Associated Cases: 2: 12 cyv- .y-01133- RDP,
2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-02185-RDP, 2: 12-cv-
02525-RDP, 2:12-cv-02532-RDP, 2:12-cv-02537-RDP(Hoover, Craig) Modified
on 9/6/2012 (AVC). (Entered: 09/05/2012)

09/05/2012 96 | CERTIFICATION of J. Robert Robertson Associated Cases: 2:12-cv-
01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP,
2: 12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2: 12-cv-02537-RDP(Robertson, J)
Modified on 9/6/2012 (AVC). (Entered: 09/05/2012)

09/06/2012 97 | NOTICE by Thomas A Carder, Jr, Industrical Sales & Service LLC, American
Electric Motor Services Inc, Fred R Richards, Richards and Sons Construction
Company Inc re (89 in 2:12-cv-01133-RDP) Brief, SUPPLEMENT TO THE
APPLICATION TO APPOINT COHEN MILSTEIN AS INTERIM CLASS
COUNSEL AND JOHN D. SAXON AS INTERIM LIAISON COUNSEL
Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2: 12-cv-02525-RDP, 2:12-cv-02532-RDP,
2:12-cv-02537-RDP(Gmall, Daniel) (Entered: 09/06/2012)

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U.S. DISTRICT COU

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ALABA
SoLrkhermm “Diyi4iow.

Fred R. Richards and Richards and Sons ) Pe La A
Construction Company, Inc., on behalf of )
themselves and all others similarly )
situated, )

)
Plaintiffs } CLASS ACTION COMPLAINT

) TMs PRe Pa LL S
y. ) (¥- de eh

) JURY TRIAL DEMANUEY
Blue Cross and Blue Shield of Alabama, )
and Blue Cross and Blue Shield )
Association, )

)
Defendants. )

)

CLASS ACTION COMPLAINT

Plaintiffs Fred R. Richards and Richards and Sons Construction Company, Inc.,
individually and on behalf of a class of all those similarly situated, bring this action for treble
damages under the antitrust laws of the United States against Defendants Blue Cross and Blue
Shield of Alabama (“BCBS-AL”) and Blue Cross and Blue Shield Association (“BCBSA”), and
demand a trial by jury.

NATURE OF THE CASE

1, Defendants and the 37 other members of BCBSA have conspired to divide and
allocate markets for commercial, consumer health insurance. !n particular, Defendants and the
37 other BCBSA member plans agreed that none of the other BCBSA member plans would
compete with BCBS-AL in the market for commercial health insurance in the state of Alabama.

2. Over at least the last four years, BCBS-AL has faced very little competition in the

sale of commercial health insurance in Alabama. BCBS-AL has dominated that market for years

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Case MDL No. 2406 Document 2-8 Filed 09/07/12 Page 23 of 33

and currently has a 90 percent market share, with the next largest insurer possessing a mere five
percent share.

3, Absent the alleged conspiracy, BCBS-AL would have faced competition in this
market from other Blue Cross plans. BCBS-AL would have responded to this substantial
increase in competition by lowering its premiums for at feast its individual and small group
commercial insurance policies.

4. Plaintiffs bring this action on behalf of all individuals and entities in the state of
Alabama that purchased individual or small group commercial health insurance from BCBS-AL
from April 16, 2008 through the present (the “Class Period”) to recover the overcharges they
paid for BCBS-AL’s health insurance plans in the state of Alabama.

JURISDICTION AND VENUE

5. This action is instituted under Sections 4 and 16 of the Clayton Act, 15 U.S.C.
§§ 15 and 26, to recover treble damages and the costs of this suit, including reasonable attorneys’
fees, against Defendants for the injuries sustained by Plaintiffs and the members of the Class by
reason of the violations, as hereinafter alleged, of Section | of the Sherman Act, 15 U.S.C. § 1,

6. This Court has federal question jurisdiction under 28 U.S.C. §§ 1331, 1337 and
Sections 4 and !6 of the Clayton Act, 15 U.S.C. §§ 15(a) and 26.

7. Venue is proper in this district pursuant to Sections 4, 12 and 16 of the Clayton
Act, IS U.S.C. §§ 15, 22, and 26, and 28 U.S.C. § 1391.

PARTIES
Plaintiffs
8. Plaintiff Fred R. Richards has resided at 475 Cardinal Cove Circle Hoover, AL

35226, since November 2010. He has been enrolled in Blue Cross Blue Shield Total Blue for
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Family Health Insurance Policy that has covered himself and his three children during the Class
Period. Plaintiff Richards and his family at other times during the Class Period had BCBS-AL
health insurance coverage through the group plan provided by Plaintiff Richards and Sons
Construction Company, Inc.

9. Plaintiff Richards and Sons Construction Company, Inc. is an Alabama
Corporation located at 1301 Avenue 1, Bessemer, AL 35020. Richards & Sons has twelve (12)
full-time employees for whom it has purchased the Blue Cross Blue Shield 300 Plan for Group
Health Benefits during the Class Period.

Defendants

40. Defendant BCBSA is a corporation with its principal place of business in
Chicago, Illinois and organized under the laws of the State of Hlinois. BCBSA is owned and
controlled by its thirty-eight member plans, which operate under the Blue Cross and Blue Shield
trademarks and trade names. These plans created BCBSA to hold and manage the Blue Cross
and Blue Shield trademarks and trade names. BCBSA operates as a licensor for its member
plans. BCBSA is governed by a board of directors composed of the chief executive officers
from most Blue plans and is primarily funded by plans’ dues. Approximately 100 million
Americans across all 50 states are covered by health plans licensed by BCBSA.

11. Defendant BCBS-AL is a health insurance provider located in Birmingham,
Alabama. BCBS-AL was founded in 1936, and currently administers health and dental programs
for over 3 million individuals. BCBS-AL is by far the largest provider of healthcare benefits in

Alabama. BCBS-AL licenses the Blue Cross and Blue Shield trademarks and trade names from

BCBSA and is also a member of BCBSA.
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CLASS ACTION ALLEGATIONS
12, __ Plaintiffs bring this action on behalf of themselves and as a class action under the
provisions of Rules 23(a), 23(b)(1), and 23(b)2) of the Federal Ruies of Civil Procedure on
behalf of all members of the following class:
All persons or entities who, at any time from April 16, 2008 to the
present, paid health insurance premiums directly to BCBS-AL for
individual or small group full-service commercial health insurance.
Excluded from the class are Defendants and their respective parent
companies, subsidiaries, affiliates, officers and directors,

government entities, the attorneys representing parties in this
action, and all court personnel involved with this action.

13. Plaintiffs do not know the exact number of class members because such
information is in the exclusive control of Defendants. But due to the nature of the trade and
commerce involved, Plaintiffs believe that there are thousands, if not millions, of Class members
as above described, the exact number and their identities being known by Defendants.

14. The Class is so numerous and geographically dispersed that joinder of all
members is impracticable.

15. There are numerous questions of law and fact common to the class, including
inter alia:

° whether the thirty-eight member organizations of BCBSA have agreed to
allocate or divide commercial health insurance markets or customers
amongst themselves;

° whether the restrictions contained in BCBSA’s license agreement amount
to a per se violation of Section | of the Sherman Act;

° whether BCBSA has coordinated a conspiracy among its thirty-eight

members to allocate health insurance markets;
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° whether BCBS-AL has illegally entered into agreements with BCBSA and
the other thirty-seven members of BCBSA to allocate health insurance
markets;

° whether the premiums charged by BCBS-AL for individual and small
group commercial health insurance were artificially inflated as a result of
the alleged conspiracy; and

. the appropriate class-wide measure of damages

16. Plaintiffs are members of the Class, Plaintiffs’ claims are typical of the claims of
the other Class members, and Plaintiffs will fairly and adequately protect the interests of the
Class. Plaintiffs are direct purchasers of individual and small group commercial health
insurance, and their interests are coincident with, and not antagonistic to, those of the other
members of the Class.

17. Plaintiffs are represented by counsel who are competent and experienced in the
prosecution of antitrust and class action litigation.

18. The prosecution of separate actions by individual members of the Class would
create a risk of inconsistent or varying adjudications, establishing incompatible standards of

conduct for Defendants.

19. The questions of law and fact common to the members of the Class predominate
over any questions affecting only individual members.

20. A class action is superior to the other available methods for the fair and efficient
adjudication of this controversy. The Class is ascertainable, and records should exist from which
Class members can be identified. Prosecution as a class action will eliminate the possibility of

repetitious litigation. Treatment as a class action will permit a large number of similarly situated
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persons to adjudicate their common claims in a single forum simultaneously, efficiently, and
without the duplication of effort and expense that numerous individual actions would engender.
This class action presents no difficulties in management that would preclude its maintenance as a
class action,

TRADE AND COMMERCE

21. The activities of Defendants and their co-conspirators, as described in this
Complaint, were within the flow of and substantially affected interstate commerce.

22. BCBSA is a nationwide trade organization. The thirty-eight member companies
of BCBSA collectively provide health insurance to 99 million members across all fifty states, the
District of Columbia, and Puerto Rico. BCBSA enters into agreements with its thirty-eight
member companies, including BCBS-AL, throughout the United States, and these agreements
are means by which the market allocation challenged in this case was established and continues.
BCBS-AL provides health coverage to more than 3 million people throughout the state of
Alabama and around the country. BCBS-AL purchases health care for its members in the state
of Alabama and also throughout the United States when its members travel outside of their home
states. Accordingly, BCBS-AL and BCBSA are engaged in interstate commerce, and their
conduct alleged herein has had a significant tmpact on interstate commerce.

23. The illegal agreements into which Defendants entered have had a direct,
substantia!, and reasonably foreseeable effect on commerce between the states.

BCBS-AL AND BCBSA TODAY

24. BCBS-AL is a member of BCBSA, a trade association for Blue Cross and Blue

Shield health insurance plans which holds the Blue Shield and Blue Cross trademarks. Through

license agreements coordinated by BCBSA, BCBS-AL and the 37 other members of BCBSA
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have agreed to illegally allocate markets and refrain from competing with one another in
violation of Section 1 of the Sherman Act.

25. BCBSA licenses BCBS-AL to use the Blue Cross and Blue Shield trademarks in
the state of Alabama. By agreement among the 38 BCBSA member companies, no other
member is allowed to use the Blue Cross or Blue Shield trademarks in Alabama. BCBSA and its
members have agreed to similar exclusive licenses of the Blue Cross and Blue Shield trademarks
in other states and geographic regions throughout the United States.

26. BCBS-AL is by far the largest provider of health insurance in Alabama. Among
providers of commercial HMO and PPO insurance in Alabama, BCBS-AL enjoys a 90% market
share. The second largest health insurance provider in the state, United Healthcare, has only a
5% share, despite being the largest single health carrier in the United States generally.

27. BCBS-AL’s near-complete dominance of the commercial health insurance market
in Alabama allows it to set prices for its individual and small group commercial health insurance
policies at supra-competitive prices.

History of BCBSA

28. The first Blue Cross plan was established in 1934, when an executive with the
forerunner to Blue Cross and Blue Shield of Minnesota identified his hospital care program with
a solid blue Greek cross design. Other hospital plans around the country began to use the same
blue cross symbol. At the outset, the various plans using the Blue Cross symbol were not
affiliated with one another, but were emerging and independent hospital care plans.

29. In 1939, the Blue Shield symbol! was devised by a medical service plan. The blue

shield symbol was devised to indicate that the medical services plans were distinct from the
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hospital plans using the blue cross logo, but also to show that the two types of plans were
companions, intended to offer complementary coverage.

30. Inthe 1940s, the Blue Cross Commission, a predecessor to BCBSA was created.
The Blue Cross Commission was a national organization of Blue Cross plans. A few years later,
a national organization for Blue Shield companies, Associated Medical Care Plans, was created.
In the early 1960s, Asseciated Medical Care Plans changed its name to Association of Biue
Shield Plans. In the 1970s, the Association of Blue Shield Plans changed its name again,
becoming the Blue Shield Association.

31. The Blue Shield Association and the Blue Cross Commission merged in the early
1980s to become BCBSA.

32. By the 1990s, Blue Cross and Blue Shield plans had 37.5 million enroflees. By
2003, that number had climbed to more than 88 million. By 2009, it reached 100 million.

33. In 1994, BCBSA abandoned its longstanding rule that Blue Cross and Blue Shield
plans must be not-for-profit entities. This rule change led to Blues across the country converting
to for-profit status.

34. Over the years since the formation of the Blue Cross and Blue Shield associations,
various Blue Cross and Blue Shield member plans have merged, with the result that by 2011,
only 38 local Blue Cross and Blue Shield companies remained,

BCBSA LICENSE AGREEMENT
35. | BCBSA controls the Blue Cross and Blue Shield trademarks and trade names,

36. A Pian may only legally operate under the Blue Cross or Blue Shield trademark or

trade name if it first obtains a license from BCBSA.
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37, In prior htigation, BCBSA has taken the position that it has no legal identity
outside of its members.

38. A Plan may only obtain a license from BCBSA to use the Blue Cross or Blue
Shield trademarks and trade names by entering into licensing agreement with BCBSA (“BCBSA
License Agreement”). Each of the BCBSA member plans has entered into a BCBSA License
Agreement, and by agreement of the member plans, each of those BCBSA License Agreements
is substantially the same.

39. The BCBSA License Agreement grants a member plan the right to use the Blue
Cross and Blue Shield trademarks and trade names only within that plan’s designated service
area, defined as the geographical area(s) served by the plan on June 30, 1972, and/or as to which
the plan has been granted a subsequent license. In effect, then, the BCBSA License Agreement
fixes the service area of each plan to the area served by that plan on June 30, 1972. Mandatory
guidelines imposed by BCBSA on member plans further limit the plans’ abilities to compete
outside of their respective service areas.

40. According to the Government Accountability Office: “The [BCBSA] license
agreement restricts plans from using the trademark outside their prescribed service area to
prevent competition among plans using the Blue Cross and Biue Shield names and trademarks.”

41. In prior litigation, BCBSA has admitted the existence of territorial allocation
agreements between and among its members, and at least one court has taken notice that the
pattern has existed for many years.

42, The BCBSA License Agreement is a naked horizontal territorial allocation by and

among BCBSA and the member plans.
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43. In prior litigation, BCBSA has taken the position that its territorial allocation
agreements have an impact on insurance rates.

44. These explicit, horizontal agreements to divide various geographic health
insurance markets within the United States, including the agreement to exclusively license the
Blue Cross and Blue Shield trademarks in Alabama to Blue Cross and Blue Shield of Alabama
have reduced competition and have resulted in fewer health insurance choices for Alabama
residents and increased premiums charged to members of BCBS-AL’s individual and small
group commercial health insurance plans.

45, This reduced competition and inflated premiums would not be possible without
Defendants’ illegal agreements to eliminate competition and divide markets. But for those
agreements, other BCBSA member companies would compete with Blue Cross and Blue Shield
of Alabama in Alabama, resulting in increased choice for Alabama residents and decreased
health insurance premiums.

46. But for the illegal market allocation agreements entered into by BCBSA,
BCBS-AL, and the thirty-seven other BCBSA licensees, there would be more competition for
health insurance in Alabama and lower premiums.

VIOLATIONS ALLEGED
COUNT 1

CONTRACT, COMBINATION, OR CONSPIRACY IN RESTRAINT OF TRADE
IN VIOLATION OF SHERMAN ACT, SECTION I

47. Plaintiffs incorporate and re-allege each allegation set forth in the preceding

paragraphs of this Complaint.
48. Throughout the Class Period, Defendants, by and through their officers, directors,

employees, agents, or other representatives, in violation of Section 1 of the Sherman Act, 15

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U.S.C. § 1, had an agreement, understanding, and conspiracy in restraint of trade to allocate
markets, reduce competition, restrict output, and increase prices for commercial, consumer
individual and small group health insurance sold in Alabama.

49. _ Plaintiffs and the other members of the Class have been injured in their business
and property by reason of Defendants’ unlawful combination, contract, conspiracy, and
agreement. Plaintiffs and other Class members have paid higher prices for commercial
individual and smalj group health insurance than they otherwise would have paid in the absence
of Defendants’ conduct. This injury is of the type the federal antitrust laws were designed to
prevent and flows from that which makes Defendants’ conduct unlawful.

50. Accordingly, Plaintiffs and the Class members seek damages, to be trebled
pursuant to federal antitrust law, and costs of suit, including reasonable attorney’s fees.

RELIEF REQUESTED
WHEREFORE, Plaintiffs request that this Court:
a) Determine that this action may be maintained as a class action under Fed. R. Civ. P. 23;
b) Adjudge and decree that BCBSA and BCBS-AL have violated Section 1 of the Sherman

Act;

c) Award Plaintiffs and the Class damages three times the amount by which premiums
charged by BCBS-AL have been artificially inflated above their competitive levels since

April 16, 2008;

d) Award costs including reasonable attorneys’ fees to Plaintiffs;
e) Hold a trial by jury; and
f} Award any such other and further relief as may be just and proper.

This 16th day of April, 2012.

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Dated: April 17, 2012

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Respectfully submitted,
if LWA

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